                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION



WALTER L. HART, IV, As Guardian         )
Ad Litem for Dominique D. Northcutt, an )
incompetent adult                       )
                    Plaintiff,          )
                                        )
v.                                      )          JUDGMENT
                                        )
TRAVELERS PROPERTY CASUALTY )                      5:21-CV-466-FL
COMPANY OF AMERICA,                     )
EDUCATIONAL DATA SYSTEMS                )
INCORPORATED, CAPE FEAR                 )
AVIATION MAINTENANCE, LLC,              )
d/b/a Cape Fear Aviation, CAPE FEAR     )
AVIATION SERVICES, LLC, d/b/a           )
Cape Fear Aviation, CAPE FEAR           )
AVIATION FAYETTEVILLE, LLC              )
d/b/a Cape Fear Aviation, ROGER DALE )
SMITH, Individually and as Owner, Member)
and Manager of Cape Fear Aviation F.    )
Fayetteville, LLC, CYNTHIA B. SMITH, )
Individually and as Owner of Cape Fear  )
Aviation, JACOB JAKE PARSONS, and       )
SCOT SMITH, Individually and as Owner, )
Member and Manager of Cape Fear Aviation)
Maintenance, LLC,                       )
                     Defendants.        )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of defendants’ motions to dismiss.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
July 8, 2022, and for the reasons set forth more specifically therein, defendants’ motions to
dismiss are GRANTED. Defendant EDSI's counterclaim is DISMISSED WITHOUT
PREJUDICE in favor of adjudication of the same issues in the operative 5:21-CV-468-FL action.




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This Judgment Filed and Entered on July 8, 2022, and Copies To:
Charles G. Monnett, III (via CM/ECF Notice of Electronic Filing)
Matthew J. Lavisky/ Theodore Nicholas Goanos (via CM/ECF Notice of Electronic Filing)
Andrew L. Fitzgerald (via CM/ECF Notice of Electronic Filing)

July 8, 2022                      PETER A. MOORE, JR., CLERK

                                    /s/ Sandra K. Collins
                                  (By) Sandra K. Collins, Deputy Clerk




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